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                           UNITED STATES DISTRICT COURT                           SEP I 5 2014       W
                            EASTERN DISTRICT OF VIRGINIA
                                                                             CLERK. U.S. DISTRICT COURT
                                          Richmond Division                        RICHMOND, VA


JAMES RYALS, JR.,
on behalf of himself and
all others similarly situated,

                      Plaintiff,                              Civil Action No. 3-\4~C\/-(pH3
v.



STRATEGIC SCREENING SOLUTIONS, INC.
And LIBERTY SCREENING SERVICES, LTD.
                                                              JURY TRIAL DEMANDED
                      Defendants.



                                 CLASS ACTION COMPLAINT

       COMES NOW the Plaintiff, James Ryals, Jr., (hereinafter "Ryals" or "Plaintiff'), on

behalfof himselfand all others similarly situated andfor his Complaint, states as follows:

                                     I.       Introduction

       1.      This is a consumer class action based upon violations of the FairCredit Reporting

Act, 15 U.S.C. §§ 1681 - 1681x ("FCRA") committed by Strategic Screening Solutions, Inc. and

Liberty Screening Services, Ltd. Defendants are regulated as a consumer reporting agencies

("CRAs") under the FCRA. The rights of consumers to have notice of, inspect, and correct

consumer information sold about them are at the heart of the FCRA. Defendants deprive

consumers of these rights by failing to comply with the FCRA and refusing to follow the law's

requirements when they compile and then sell information about them to third parties.
       2.     Plaintiff alleges class claims under 15 U.S.C. §§ 1681c(a)(2) and (5), which

excludes certain information from consumer reports. Plaintiffs report from Defendants included
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